            Case 1:23-cr-00257-TSC Document 259 Filed 10/10/24 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

     UNITED STATES OF AMERICA

       v.                                             Case No. 1:23-cr-00257-TSC

     DONALD J. TRUMP,                                 UNDER SEAL

                   Defendant.

    PRESIDENT DONALD J. TRUMP’S SUBMISSION REGARDING REDACTIONS TO
        THE SPECIAL COUNSEL’S PRESIDENTIAL IMMUNITY “APPENDIX”

       President Donald J. Trump respectfully submits this response to the Court’s September 27,

2024 Minute Order regarding the redactions proposed by the Special Counsel’s Office to the

“Appendix” to the Office’s “Motion for Immunity Determinations.” 1

       There should be no further disclosures at this time of the so-called “evidence” that the

Special Counsel’s Office has unlawfully cherry-picked and mischaracterized—during early voting

in the 2024 Presidential election—in connection with an improper Presidential immunity filing

that has no basis in criminal procedure or judicial precedent. President Trump maintains his

objections, see ECF No. 248, based on overt and inappropriate election interference, violations of

longstanding DOJ policy, the Office’s previous safety-related representations in this District and

the Southern District of Florida, grand jury secrecy, and the influence on potential witnesses and

jurors of prejudicial pretrial publicity—which predictably followed from the filing of the redacted

“Motion for Immunity Determinations.” 2 If the Court decides to release additional information


1
  Pursuant to the Court’s September 27, 2024 Minute Order, President Trump has submitted this
filing to the Special Counsel’s Office and the Court for temporary sealing. President Trump does
not believe continued sealing of today’s submission is necessary.
2
  See, e.g., Ellie Honig, Jack Smith’s October Cheap Shot, N.Y. Magazine (Oct. 3, 2024),
https://nymag.com/intelligencer/article/jack-smith-october-surprise-donald-trump.html; see also


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         Case 1:23-cr-00257-TSC Document 259 Filed 10/10/24 Page 2 of 2




relating to the Office’s filing, in the Appendix or otherwise, President Trump respectfully requests

that the Court stay that determination for a reasonable period of time so that President Trump can

evaluate litigation options relating to the decision.

 Dated: October 10, 2024                               Respectfully submitted,

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Jack Goldsmith, Jack Smith Owes Us an Explanation, N.Y. Times (Oct. 9, 2024),
https://www.nytimes.com/2024/10/09/opinion/jack-smith-trump-biden.html.

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